                      Case 1:21-cr-00046-RDM Document 1 Filed 01/13/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        DistrictDistrict
                                                   __________    of Columbia
                                                                         of __________

                  United States of America                          )
                             v.                                     )
               PATRICK MONTGOMERY
                                                                    )      Case No.
              DOB: 10/03/1972; PDID: None                           )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  January 6, 2021                in the county of                                  in the
                       District of          Columbia            , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. 1752 (a)(1)                             Knowingly Entering or Remaining in any Restricted Building or Grounds
                                                  Without Lawful Authority

40 U.S.C. 5104(e)(2)(G)                           Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u


                                                                                               Complainant’s signature

                                                                                      Special Agent Jeffrey Weeks, FBI
                                                                                                Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                                 Robin M. Meriweather
                                                                                                              2021.01.13 13:11:30
Date:     1/13/2021                                                                                           -05'00'
                                                                                                  Judge’s signature

City and state:          Washington D.C.                                         Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                  Reset
